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                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLORADO




Civil Action No.


KIMBERLY ARGO,
            Plaintiff,

         v.

STATE FARM MUTUAL AUTOMOBILE INSURANCE COMPANY
            Defendant.


______________________________________________________________________
              DEFENDANT’S NOTICE OF REMOVAL OF ACTION
______________________________________________________________________

         Pursuant to 28 U.S.C. § 1441 and 28 U.S.C. § 1446, Defendant State Farm

Mutual Automobile Insurance Company, hereby files its Notice of Removal of the

above-captioned action to this Court, and states as follows:
         1.        Defendant State Farm Mutual Automobile Insurance Company is named

as defendant in Civil Action No. 2018CV31729 in El Paso County District Court (the

“State Court Action”).
         2.        The Complaint in the State Court Action was filed with the Clerk of the

District Court of El Paso County, in Colorado Springs, Colorado on July 13, 2018.

Plaintiff served the Summons and Complaint to Defendant on July 16, 2018. The
Defendant will timely file an Answer to the Plaintiff’s Complaint within seven days of this

Notice.

         3.        This Notice is being filed with this Court within thirty (30) days after the
Plaintiff’s Complaint was served upon the Defendant’s registered agent setting forth the

claims for relief upon which Plaintiff’s action is based.



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         4.        To the best of Defendant’s knowledge, all pleadings that have been filed
or served in the State Court Action are attached hereto as Exhibit “A.” To the best of

Defendant’s knowledge, no further proceedings, process, pleadings, orders, or other

papers have been filed or served in the State Court Action.
         5.        State Farm Mutual Automobile Insurance Company avers that this Court

has diversity jurisdiction over Plaintiff’s claims because this is a civil action between

parties of diverse citizenship. Additionally, Plaintiff alleges that the amount in
controversy exceeds $75,000. Thus, this Court has original jurisdiction pursuant to 28

U.S.C.A. § 1332.

         6.        Pursuant to Paragraphs 2 and 3 of the Complaint, Plaintiff is a resident of
Colorado Springs, El Paso County, Colorado and Defendant is a foreign corporation

authorized to do business in the State of Colorado. This civil action is one that may be

removed to this Court by Defendant pursuant to the provisions of 28 U.S.C. § 1446(a)
because this Court has diversity jurisdiction.

         7.        Additionally, the Plaintiff alleges that this action is a civil action involving

an amount in controversy exceeding $100,000, exclusive of interest and costs. See
Exhibit A, Civil Cover Sheet; Complaint and Jury Demand. Moreover, according to

Paragraph 7 of Plaintiff’s Complaint, “Plaintiff’s injuries and damage have a value in

excess of $50,000.00,” and according to Paragraph 19 of Plaintiff’s Complaint, she
demands payment of the UIM benefits from her policy, which limits are $100,000. In

addition to Plaintiff’s claim for UIM Benefits, Plaintiff is also alleging Bad Faith/Bad Faith

Breach of Insurance Contract.            According to Plaintiff’s Prayer for Relief, Plaintiff is
claiming that Defendant is liable for UIM benefits including Plaintiff’s past and future

medical expenses, wage loss, loss of earning capacity, noneconomic damages,

permanent physical impairment and prejudgment interest. Plaintiff additionally requests
double damages pursuant to C.R.S. § 10-3-1115 and C.R.S. § 10-3-1116 totaling

$200,000, reasonable attorney’s fees and costs, noneconomic damages including pain,



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suffering, inconvenience, and loss of enjoyment of life, statutory and common law
interest and other relief. Therefore, it can reasonably be inferred that Plaintiff is seeking

damages in excess of $300,000.

         8.        Promptly after the filing of this Notice of Removal, Defendant shall provide
notice of the removal to Plaintiff in the State Court Action and to the Clerk of the Court in

the State Court Action, as required by 28 U.S.C. § 1446(d).

         WHEREFORE, Defendant prays that the above-described action now pending in
Mesa County District Court, be removed therefrom to this Court.

         Respectfully submitted this 13th day of August, 2018.


                                       By:    ________s/Rebecca K. Wagner_________
                                              Rebecca K. Wagner (CO Bar No. 33473)
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                                              Email: rwagner@cla-law.net
                                              Attorneys for Defendant



                                   CERTIFICATE OF SERVICE

       I hereby certify that on the 13th day of August, 2018, I presented the foregoing
DEFENDANT’S NOTICE OF REMOVAL OF ACTION to the Clerk of the Court for filing
and uploading to the CM/ECF system which will send notification of the filing to the
following:

Kim Welch, Esq.
Kim Welch Law, Inc.


                                              ______s/ Michelle Kuenzler




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